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     Attorney for Plaintiff ABUBAKAR ABDALLAH
 6
 7
 8                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
 9
10   ABUBAKAR ABDALLAH,                                 Case No.: ) '22CV1491 AJB MSB
                                             )
11                  Plaintiff;               ) COMPLAINT FOR DAMAGES
           v.                                )
12                                           ) MOTOR VEHICLE ACCIDENT
     UNITED STATES OF AMERICA and ALEXIA )
13   HENDERSON                               )
                                             ) DEMAND FOR JURY TRIAL
14               Defendant.                  )
     _______________________________________ )
15                                           )
16
            COMPLAINT FOR DAMAGES UNDER THE FEDERAL TORT CLAIMS ACT
17
            Plaintiff, ABUBAKAR ABDALLAH, by counsel, for his Complaint against the Defendant,
18
     United States of America, states as follows:
19
                                       JURISDICTION AND VENUE
20
            1.   This is an action against the defendant United States of America under the Federal Torts
21
     Claims Act (28 U.S.C. Section 2671-2680) and 28 U.S.C. Section 1346(b), for negligence in
22
     connection with a motor vehicle accident on November 30, 2020 involving a bus driven by defendant
23
     ALEXIA HENDERSON whom plaintiff is informed and believes was owned by United States agency
24
     Department of Veterans Affairs and driven by ALEXIA HENDERSON while in the scope of
25
     employment for the United States Agency Department of Veterans Affairs
26
27                                           1
     ________________________________________________________________________________
28   ____
                                                COMPLAINT
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 1          2. The claims herein are brought against the Defendant UNITED STATES OF AMERICA
 2   pursuant to the Federal Torts Claim Act (28 U.S.C. Section 2671 et. seq.) and 28 U.S.C. Section
 3   1346(b)(1) for money damages as compensation for personal injuries caused by the Defendant
 4   ALEXIA HENDERSON’s negligence.
 5          3. Plaintiff ABUBAKAR ABDALLAH has fully complied with the provisions of 28 U.S.C.
 6   Section 2675 of the Federal Tort Claims Act by presenting Standard Form 95 on or about November
 7   30, 2021.
 8          4. This suit has been timely filed, in that Plaintiff ABUBAKAR ABDALLAH timely served
 9   notice of his claim less than two years after the incident forming the basis of this suit.
10          5. Plaintiff ABUBAKAR ABDALLAH is now filing this Complaint within six (6) months of
11   the mailing of a letter denying the claim. The letter denying the claim was mailed to counsel for
12   ABUBAKAR ABDALLAH on July 29, 2022.
13                                PARTIES, JURISDICTION AND VENUE
14          6. Plaintiff ABUBAKAR ABDALLAH is, and at all times relevant hereto was, a resident of
15   San Diego County, California.
16          7. Defendant United States of America, is responsible for the following Federal entities and
17   employees: Department of Veterans Affairs and ALEXIA HENDERSON
18          8. At all times relevant to this Complaint, the Defendant UNITED STATES OF AMERICA
19   was responsible for the negligent acts of ALEXIA HENDERSON under respondeat superior.
20          9. Jurisdiction is proper under 28 U.S.C. Section 1346(b)(1).
21          10. Venue is proper under 28 U.S.C. Section 1402(b) in that all, or a substantial part of the
22   acts and omissions forming the basis of these claims occurred in the Southern District of California.
23                                         STATEMENT OF FACTS
24          11. On or about November 30, 2020 ABUBAKAR ABDALLAH was parked after he had
25   finished dropping off a passenger at the VA hospital in San Diego, CA. He was struck and rear ended
26   by a bus operated by the Department of Veterans Affairs and driven by ALEXIA HENDERSON while
27                                           2
     _________________________________________________________________________________
28   ___
                                                  COMPLAINT
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 1   in the scope of employment for the United States Agency Department of Veterans Affairs.
 2          12. The act of ALEXIA HENDERSON in driving the bus so as to collide with the rear of the
 3   vehicle that ABUBAKAR ABDALLAH was sitting in was negligent and the proximate cause of
 4   injuries to ABUBAKAR ABDALLAH.
 5          13. As a proximate cause of the negligence of ALEXIA HENDERSON while in the scope of
 6   employment for the United States Agency Department of Veterans Affairs, ABUBAKAR
 7   ABDALLAH sustained injuries to his neck and back, headaches, bilateral knee pain and sleep
 8   disturbances. He also lost wages from his work.
 9                                       FIRST CAUSE OF ACTION
10                                                 NEGLIGENCE
11          14. Plaintiff realleges paragraphs 1 through 13 of this complaint as though set forth in full.
12          15. Defendant ALEXIA HENDERSON had a duty to drive the bus with due care and avoid
13   colliding with the vehicle occupied by ABUBAKAR ABDALLAH.
14          16. Defendant ALEXIA HENDERSON breached this duty by so negligently driving the bus
15   that she collided with the vehicle occupied by ABUBAKAR ABDALLAH.
16          17. Plaintiff performed each and every act that was required of him.
17          18. As a direct and proximate result of the breach of duty described above, plaintiff
18   sustained injuries that included ongoing pain, suffering, need for medical and chiropractic treatment,
19   loss of income and earning capacity, out of pocket expenses and medical bills other economic losses
20   and physical damages according to proof and general damages according to proof at trial
21          19. As a direct and proximate result of the acts of the Defendant, as set forth above, Plaintiff
22   was seriously injured as outlined above and as established by proof at the time of trial.
23          20. The acts and/or omissions set forth above would constitute a claim under the law of the
24   State of California.
25          21. The Defendant United States of America is liable pursuant to 28 U.S.C. Section
26   1346(b)(1).
27                                           3
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                                                 COMPLAINT
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 1                                        DEMAND FOR JURY TRIAL
 2             Plaintiff ABUBAKAR ABDALLAH hereby demands a trial by jury in the above entitled
 3   matter.
 4                                            RELIEF REQUESTED
 5             For the reasons set forth above, plaintiff requests entry of judgment as follows:
 6                                         FIRST CAUSE OF ACTION
 7             1. General damages according to proof;
 8             2. Special and compensatory damages according to proof;
 9             3. Costs of suit; and,
10             4. For such other and further relief as the Court deems proper.
11   Dated:      10-2-22                             SUPPA, TRUCCHI AND HENEIN, LLP
12                                                   By: /s Teresa Trucchi
13                                                   TERESA TRUCCHI
14                                                   ATTORNEY FOR PLAINTIFF
15                                                   ABUBAKAR ABDALLAH
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                                                   COMPLAINT
